Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 1 of 40 Page ID #:9




                   EXHIBIT A
       Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 2 of 40 Page ID #:10




CVPS2204080                         MUTO vs FENIX INTERNATIONAL LIMITED
Filed Date: 10/10/2022 Unlimited Civil Business Tort/Unfair Business Practice
Case Status: Active               Palm Springs - Department PS2
                                                   Print Case Report

 Case Summary
   
       COMPLAINTS/PETITIONS


                                                                       Represented
          Filings                                                      By             Status       Dispositions

             MUTO vs FENIX INTERNATIONAL LIMITED                                      Active
          Unlimited Civil Business Tort/Unfair Business Practice

                1st Amended Complaint for Business                                    Filed:
          Tort/Unfair Business Practice (Over $25,000) of                             10/24/2022
          MARCELO MUTO

                       Plaintiff: MARCELO MUTO                         MARK POE

                       Defendant: FENIX INTERNATIONAL                                 Waiting
          LIMITED                                                                     Service as
                                                                                      of
                                                                                      10/24/2022

                       Defendant: FENIX INTERNET LLC                                  Waiting
                                                                                      Service as
                                                                                      of
                                                                                      10/24/2022


   
       HEARINGS


                                                              Judicial
         Date Time     Type                                   Officer       Location/Courtroom      Disposition

         04/19/2023    Case Management Conference             Manuel        Department PS2
         08:30 AM                                             Bustamante


   
       DEADLINES & REMINDERS


          Date Created      Timestandard                                             Expiration Date   Status

          10/10/2022        Non-Proof of Service of Summons and Complaint            12/09/2022        Active
        Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 3 of 40 Page ID #:11
    
        DOCUMENTS                                                                           Search

                                                                                                 Document Download



         Status         Date               Description                           Filed By            Confidential

         Filed          10/10/2022         Complaint for Business Tort/Unfair    MARCELO MUTO
                                           Business Practice (Over $25,000)

         Filed          10/10/2022         Civil Case Cover Sheet                MARCELO MUTO

         Filed          10/10/2022         Certificate of Counsel.               MARCELO MUTO

         Filed          10/10/2022         Summons Issued and Filed              MARCELO MUTO

         Filed          10/10/2022         Summons Issued and Filed              MARCELO MUTO

         Generated      10/21/2022         Notice of Case Management
                                           Conference Complaint for Business
                                           Tort/Unfair Business Practice (Over
                                           $25,000)

         Generated      10/21/2022         Notice of Department Assignment

         Filed          10/24/2022         1st Amended Complaint for Business    MARCELO MUTO
                                           Tort/Unfair Business Practice (Over
                                           $25,000) of MARCELO MUTO


    
        CASE LEDGER


           Date
           Imposed       Fee/Fine Description                                          Amount    Paid       Balance

                         Unlimited complaint or other first paper in unlimited civil   $450.00   $450.00    $0.00
           10/21/2022    case amount over $25,000 including UD over $25K,
                         petition for writ of review, mandate, or prohibition;
                         petition for a decree of change of name or gender
                         (GC70611)

                         Fee for eFiling                                               $1.00     $1.00      $0.00
           10/21/2022

                         Fee for eFiling                                               $1.00     $1.00      $0.00
           10/25/2022




                                                                                                                    Go Back




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  5    San Francisco, CA 94111
       Telephone: 415-766-7451
  6

  7    Attorneys for Plaintiff
       MARCELO MUTO
  8

  9                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 10                                            COUNTY OF RIVERSIDE

 11                                           UNLIMITED JURISDICTION

 12    MARCELO MUTO, and all others similarly                  Case No.
       situated,
 13
                                 Plaintiff,                    COMPLAINT FOR:
 14
              v.                                               (1) VIOLATION OF THE
 15                                                            CALIFORNIA CONSUMER LEGAL
       FENIX INTERNATIONAL LIMITED; FENIX                      REMEDIES ACT [Civ. Code § 1750 et
 16    INTERNET LLC,                                           seq.] and
 17                              Defendants.                   (2) UNFAIR COMPETITION [Bus. &
                                                               Prof. Code § 17200 et seq., § 17600 et
 18                                                            seq.]
 19

 20

 21

 22                                              INTRODUCTION

 23          1.       Plaintiff Marcelo Muto brings this action to remedy Defendants’ failure to comply

 24   with the ARL.

 25                                                  PARTIES

 26          2.       Plaintiff Marcelo Muto is a resident of Riverside County, California.

 27          3.       Defendant Fenix International Limited (“FIL”) is, on information and belief, a

 28   business entity incorporated under the laws of the United Kingdom, with its principal place of

                                                        1
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  1   business in London. FIL is the counterparty to the Terms of Service that Mr. Muto entered in

  2   Riverside County. On information and belief, FIL is the business entity that receives some or all

  3   of the automatic renewal fees that are paid by OnlyFans customers and that are the subject of this

  4   complaint.

  5          4.      Defendant Fenix Internet LLC is a Delaware limited liability company that is

  6   headquartered in Florida. On information and belief, Fenix Internet LLC is a wholly owned

  7   subsidiary of FIL, and is the company through which OnlyFan’s content creators receive

  8   payment. Accordingly, Fenix Internet LLC is, or has been, continuously in possession of a

  9   portion of the money Mr. Muto seeks to have restored to him by virtue of this lawsuit.

 10                                                 VENUE

 11          5.      Venue is proper in this jurisdiction because Plaintiff resides in Riverside County

 12   and entered into the transactions at issue in this case in Riverside County.

 13                                     FACTUAL ALLEGATIONS

 14          6.      Defendants violated California’s ARL on their OnlyFans platform by not

 15   presenting the automatic renewal terms in a clear and conspicuous manner, and by not sending

 16   Mr. Muto a post-transaction acknowledgement containing the information required by section

 17   17602(a)(3).

 18          7.      Plaintiff Marcelo Muto subscribed to follow the account of an OnlyFans creator

 19   called “@taste.of.heaven” in February 2021. Mr. Muto paid the initial subscription fee to that

 20   account, and in doing so failed to receive an adequate set of disclosures at the time of that

 21   transaction to clearly and conspicuously advise him that his card would be automatically billed

 22   upon expiration of his initial enrollment period. Similarly, upon information and belief Mr. Muto

 23   did not receive any post-transaction acknowledgement advising him of the matters set forth in

 24   section 17602(a)(3), but if he did, that acknowledgement would have consisted of nothing but a

 25   very short email identifying the account he had subscribed to.

 26          8.      Mr. Muto was thereafter charged a $29.99 automatic renewal fee on or about
 27   March 14, 2021, which Defendants refused to refund to him.

 28          9.      Had Mr. Muto received the clear and conspicuous disclosures required by the ARL

                                                        2
Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 6 of 40 Page ID #:14



  1   at the time he initially subscribed to @taste.of.heaven, and the post-subscription acknowledgment

  2   required by section 17602(a)(3) with details on the auto-renewal offer and a readily accessible

  3   means of canceling, he would have canceled his subscription prior to the renewal date, and would

  4   not have lost $29.99 to Defendants.

  5                                     FIRST CAUSE OF ACTION

  6       (Violation of the California Consumer Legal Remedies Act, Civ. Code § 1750 et seq.)

  7           10.     Plaintiff hereby incorporates the allegations of all preceding paragraphs as though

  8   fully set forth herein.

  9           11.     Plaintiff is a “consumer” within the meaning of Civil Code § 1761(d) in that

 10   Plaintiff sought or acquired Defendants’ goods and/or services for personal purposes.

 11           12.     Defendants’ membership program pertains to “services” within the meaning of

 12   Civil Code § 1761(a) and (b).

 13           13.     The payments that Plaintiff made to Defendants are “transactions” within the

 14   meaning of Civil Code section 1761(e).

 15           14.     Defendants have violated Civil Code § 1770, subdivisions (a)(5), (9), and (14), by

 16   representing that Defendants’ goods or services have characteristics that they do not have;

 17   advertising goods and services with the intent not to sell them as advertised; and representing that

 18   a transaction confers or involves rights, remedies, or obligations that it does not have or involve,

 19   or that are prohibited by law.

 20           15.     Unless enjoined and restrained by this Court, Defendants will continue to commit

 21   the violations alleged herein. Pursuant to Civil Code § 1780(a)(2), Plaintiff seeks an injunction

 22   prohibiting Defendants from continuing their unlawful practices as alleged herein.

 23                                    SECOND CAUSE OF ACTION

 24    (Violation of the California Unfair Competition Law, B&P Code § 17200 et seq.; § 17600 et

 25                                                   seq.)

 26           16.     Plaintiff hereby incorporates the allegations of all preceding paragraphs as though
 27   fully set forth herein.

 28           17.     The Unfair Competition Law defines unfair competition as including any

                                                        3
Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 7 of 40 Page ID #:15



  1   unlawful, unfair, or fraudulent business act or practice; any unfair, deceptive, untrue, or

  2   misleading advertising; and any act of false advertising under § 17500.

  3          18.     In the course of conducting business in California within the applicable limitations

  4   period, Defendants committed unlawful, unfair, and/or fraudulent business practices, and engaged

  5   in unfair, deceptive, untrue, or misleading advertising, by, inter alia and without limitation: (a)

  6   failing to present automatic renewal offer terms in a clear and conspicuous manner before a

  7   subscription or purchasing agreement is fulfilled and in visual proximity to the offer; (b) charging

  8   the consumer’s credit card or debit card for an automatic renewal fee without first obtaining the

  9   consumer’s affirmative consent to an agreement containing clear and conspicuous disclosure of

 10   the automatic renewal offer terms; and (c) failing to provide an acknowledgment that includes

 11   clear and conspicuous disclosure of all automatic renewal offer terms, the cancellation policy, and

 12   information regarding how to cancel in a manner that is capable of being retained by the

 13   consumer and that provides a mechanism for cancellation that is cost-effective, timely, and easy

 14   to use, all in violation of § 17602(a) and (b).

 15          19.     Plaintiff has lost money as a result of Defendants’ unlawful acts of unfair

 16   competition, in that Plaintiff would not have incurred the automatic renewal fee associated with

 17   the account of the creator known as @taste.of.heaven had Defendants fully, clearly, and

 18   conspicuously apprised him of the terms of the automatic renewal offer described herein.

 19          20.     Pursuant to § 17203, Plaintiff is entitled to restitution of the amount he paid to

 20   Defendants in connection with an automatic renewal membership program.

 21          21.     Unless enjoined and restrained by this Court, Defendants will continue to commit

 22   the violations alleged herein. Pursuant to § 17203, Plaintiff seeks an injunction prohibiting

 23   Defendants from continuing their unlawful practices as alleged herein.

 24                                                 PRAYER

 25          Plaintiff prays for judgment against Defendants, as follows:

 26          1.      For restitution of the amounts he was unlawfully charged;
 27          2.      For injunctive relief against further violations of the ARL by Defendants;

 28          3.      For costs of suit;

                                                        4
Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 8 of 40 Page ID #:16



  1         4.     For prejudgment interest; and

  2         5.     For such other relief as the Court deems just and proper.

  3

  4    Dated: September 21, 2022                   GAW | POE LLP
  5

  6                                                By:
                                                          MARK POE
  7
                                                          Attorneys for Plaintiff
  8                                                       Marcelo Muto

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         Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 9 of 40 Page ID #:17
                                                                                       CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                        FOR COURT USE ONLY
     Mark Poe (223714)
     Gaw | Poe LLP
     4 Embarcadero, Suite 1400
     San Francisco, CA 94111
         TELEPHONE NO.:     415-766-7451                      FAX NO.:   415-737-0642
  ATTORNEY FOR (Name):      Marcelo Muto
SUPERIOR COURT OF CALIFORNIA, COUNTY OF     Riverside
       STREET ADDRESS:    3255 E. Tahquitz Canyon Way
        MAILING ADDRESS: 3255 E. Tahquitz Canyon Way
       CITY AND ZIP CODE: Palm Springs 92262

           BRANCH NAME: Palm Springs Courthouse
     CASE NAME: Muto v. Fenix International Limited, et al.

                                                                                                                CASE NUMBER:
       CIVIL CASE COVER SHEET                                     Complex Case Designation
  ✔      Unlimited         Limited
         (Amount           (Amount                     Counter              Joinder
                                                                                         JUDGE:
         demanded          demanded is          Filed with first appearance by defendant
         exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                              Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                           Contract                                       Provisionally Complex Civil Litigation
             Auto (22)                                            Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400–3.403)
             Uninsured motorist (46)                              Rule 3.740 collections (09)                  Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                    Other collections (09)                       Construction defect (10)
      Damage/Wrongful Death) Tort                                 Insurance coverage (18)                      Mass tort (40)
            Asbestos (04)                                       Other contract (37)                             Securities litigation (28)
             Product liability (24)                       Real Property                                         Environmental/Toxic tort (30)
             Medical malpractice (45)                           Eminent domain/Inverse                          Insurance coverage claims arising from the
           Other PI/PD/WD (23)                                  condemnation (14)                               above listed provisionally complex case
                                                                Wrongful eviction (33)                          types (41)
      Non-PI/PD/WD (Other) Tort
       ✔ Business tort/unfair business practice (07)              Other real property (26)               Enforcement of Judgment
             Civil rights (08)                            Unlawful Detainer                                    Enforcement of judgment (20)
             Defamation (13)                                   Commercial (31)                           Miscellaneous Civil Complaint
             Fraud (16)                                           Residential (32)                             RICO (27)
             Intellectual property (19)                           Drugs (38)                                   Other complaint (not specified above) (42)
             Professional negligence (25)                 Judicial Review                                Miscellaneous Civil Petition
           Other non-PI/PD/WD tort (35)                         Asset forfeiture (05)
                                                                                                               Partnership and corporate governance (21)
      Employment                                                  Petition re: arbitration award (11)
                                                                                                               Other petition (not specified above) (43)
           Wrongful termination (36)                              Writ of mandate (02)
             Other employment (15)                                Other judicial review (39)
2. This case         is      ✔ is not      complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.       Large number of separately represented parties        d.      Large number of witnesses
   b.       Extensive motion practice raising difficult or novel  e.      Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
   c.       Substantial amount of documentary evidence            f.      Substantial postjudgment judicial supervision
3.    Remedies sought (check all that apply): a. ✔ monetary b. ✔ nonmonetary; declaratory or injunctive relief                                        c.         punitive
4.    Number of causes of action (specify): 2
5.    This case         is    ✔ is not    a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: September 21, 2022
Mark Poe
                                   (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
  •   File this cover sheet in addition to any cover sheet required by local court rule.
  •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
  •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                   Page 1 of 2
                                                                                                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Form Adopted for Mandatory Use
  Judicial Council of California
                                                          CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
   CM-010 [Rev. July 1, 2007]                                                                                                                             www.courtinfo.ca.gov
        Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 10 of 40 Page ID #:18
                                                                                                                                      CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                               Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                             Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                            above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                         Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                    Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer
                                                                                                                 (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                    Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)               above) (43)
           (13)                                 Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                         Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                            Claim
Employment                                                   Review                                         Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                             Page 2 of 2
                                                    CIVIL CASE COVER SHEET
          Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 11 of 40 Page ID #:19


                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

      BANNING 311 E. Ramsey St., Banning, CA 92220                                    MURRIETA 30755-D Auld Rd., Suite 1226, Murrieta, CA 92563
      BLYTHE 265 N. Broadway, Blythe, CA 92225                                        PALM SPRINGS 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262
      CORONA 505 S. Buena Vista, Rm. 201, Corona, CA 92882                            RIVERSIDE 4050 Main St., Riverside, CA 92501
      MORENO VALLEY 13800 Heacock St., Ste. D201,
      Moreno Valley, CA 92553
                                                                                                                                                                     RI-CI032
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar Number and Address)                                                              FOR COURT USE ONLY
Mark Poe (223714)
Gaw | Poe LLP
4 Embarcadero, Suite 1400
San Francisco, CA 94111
           TELEPHONE NO: 415-766-7451                           FAX NO. (Optional):

  E-MAIL ADDRESS (Optional): mpoe@gawpoe.com

     ATTORNEY FOR (Name):
                             Marcelo Muto
            PLAINTIFF/PETITIONER:       Marcelo Muto


       DEFENDANT/RESPONDENT:            Fenix International Limited; Fenix Internet LLC                            CASE NUMBER:



                                                                  CERTIFICATE OF COUNSEL

The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
specified below:

             The action arose in the zip code of: 92201


             The action concerns real property located in the zip code of:


             The Defendant resides in the zip code of:




For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 3115 at www.riverside.courts.ca.gov.


I certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.



   Date October 6, 2022




  Mark Poe                                                                             ►
       (TYPE OR PRINT NAME OF    ATTORNEY    PARTY MAKING DECLARATION)                                                 (SIGNATURE)

                                                                                                                                                                     Page 1 of 1
Approved for Mandatory Use                                                                                                                                            Local Rule 3117
Riverside Superior Court                                            CERTIFICATE OF COUNSEL                                           riverside.courts.ca.gov/localfrms/localfrms.shtml
RI-CI032 [Rev. 07/15/21]
Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 12 of 40 Page ID #:20




        10/10/2022




                     x
                         x
Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 13 of 40 Page ID #:21




       10/10/2022




                     x
                         x
         Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 14 of 40 Page ID #:22



                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                               Palm Springs Courthouse
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262

  Case Number:          CVPS2204080

  Case Name:            MUTO vs FENIX INTERNATIONAL LIMITED


  MARK POE
  4 EMBARCADERO CENTER SUITE 1400

  San Francisco, CA 94111


                                   NOTICE OF CASE MANAGEMENT CONFERENCE

      The Case Management Conference is scheduled as follows:

                           Hearing Date                  Hearing Time                   Department
                            04/19/2023                      8:30 AM                  Department PS2
                    Location of Hearing:
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262



      No later than 15 calendar days before the date set for the case management conference or review, each party must
      file a case management statement and serve it on all other parties in the case. CRC, Rule 3.725.

      The plaintiff/cross-complainant shall serve a copy of this notice on all defendants/cross-defendants who are named
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      mobile device, or dial (833) 568-8864 (toll free) or (669) 254-5252, when prompted enter:

                                                Meeting ID: 160-922-1726 #
                                     Access Code: Press the # key (no number after the #)

      Please MUTE your phone until your case is called, and it is your turn to speak. It is important to note that you must
      call twenty (20) minutes prior to the scheduled hearing time to check in or there may be a delay in your case being
      heard.



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                  Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
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                  to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order (form MC-
                  410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)


                                                       CERTIFICATE OF MAILING
      I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
      party to this action or proceeding. In my capacity, I am familiar with the practices and procedures used in
      connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
      Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the
      same day in the ordinary course of business. I certify that I served a copy of the Notice of Case Management
      Conference on this date, by depositing said copy as stated above.


      Dated: 10/21/2022                                                W. SAMUEL HAMRICK JR.,
                                                                       Court Executive Officer/Clerk of Court



                                                                       by:

                                                                             K. Jove, Deputy Clerk
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(Rev. 03/02/22)
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                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                               Palm Springs Courthouse
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262

  Case Number:          CVPS2204080

  Case Name:            MUTO vs FENIX INTERNATIONAL LIMITED


  MARCELO MUTO



                                   NOTICE OF CASE MANAGEMENT CONFERENCE

      The Case Management Conference is scheduled as follows:

                           Hearing Date                  Hearing Time                   Department
                            04/19/2023                      8:30 AM                  Department PS2
                    Location of Hearing:
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262



      No later than 15 calendar days before the date set for the case management conference or review, each party must
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      Dated: 10/21/2022                                                W. SAMUEL HAMRICK JR.,
                                                                       Court Executive Officer/Clerk of Court



                                                                       by:

                                                                             K. Jove, Deputy Clerk
CI-NOCMC
(Rev. 03/02/22)
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                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                               Palm Springs Courthouse
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262

  Case Number:          CVPS2204080

  Case Name:            MUTO vs FENIX INTERNATIONAL LIMITED


  FENIX INTERNATIONAL LIMITED



                                   NOTICE OF CASE MANAGEMENT CONFERENCE

      The Case Management Conference is scheduled as follows:

                           Hearing Date                  Hearing Time                   Department
                            04/19/2023                      8:30 AM                  Department PS2
                    Location of Hearing:
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262



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                                                                       Court Executive Officer/Clerk of Court



                                                                       by:

                                                                             K. Jove, Deputy Clerk
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(Rev. 03/02/22)
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                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                               Palm Springs Courthouse
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262

  Case Number:          CVPS2204080

  Case Name:            MUTO vs FENIX INTERNATIONAL LIMITED


  FENIX INTERNET LLC



                                   NOTICE OF CASE MANAGEMENT CONFERENCE

      The Case Management Conference is scheduled as follows:

                           Hearing Date                  Hearing Time                   Department
                            04/19/2023                      8:30 AM                  Department PS2
                    Location of Hearing:
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262



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      Dated: 10/21/2022                                                W. SAMUEL HAMRICK JR.,
                                                                       Court Executive Officer/Clerk of Court



                                                                       by:

                                                                             K. Jove, Deputy Clerk
CI-NOCMC
(Rev. 03/02/22)
    Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 22 of 40 Page ID #:30

Notice has been printed for the following Firm/Attorneys or Parties: CVPS2204080


 POE, MARK                                          MUTO, MARCELO
 4 EMBARCADERO CENTER SUITE 1400

 San Francisco, CA 94111                            FENIX INTERNET LLC


 FENIX INTERNATIONAL LIMITED




                                           Page 9 of 9 Pages
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                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                 Palm Springs Courthouse
                                   3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262

  Case Number:           CVPS2204080

  Case Name:             MUTO vs FENIX INTERNATIONAL LIMITED



                                           NOTICE OF DEPARTMENT ASSIGNMENT

      The above entitled case is assigned to the Honorable Manuel Bustamante in Department PS2 for All Purposes.

      Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

      The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside Superior Court
      Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3:00 p.m. on the
      court day immediately before the hearing at http://riverside.courts.ca.gov/tentativerulings.shtml. If you do not have
      internet access, you may obtain the tentative ruling by telephone at (760) 904-5722.

      To request oral argument, you must (1) notify the judicial secretary at (760) 904-5722 and (2) inform all other
      parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument is made by
      4:30 p.m., the tentative ruling will become the final ruling on the matter effective the date of the hearing.

      The filing party shall serve a copy of this notice on all parties.


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      Dated: 10/21/2022                                                W. SAMUEL HAMRICK JR.,
                                                                       Court Executive Officer/Clerk of Court



                                                                       by:

                                                                             K. Jove, Deputy Clerk
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   6

   7    Attorneys for Plaintiff
        MARCELO MUTO
   8

   9                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

  10                                            COUNTY OF RIVERSIDE

  11                                           UNLIMITED JURISDICTION

  12    MARCELO MUTO, and all others similarly                 Case No. CVPS2204080
        situated,
  13
                                  Plaintiff,                   CLASS ACTION
  14
               v.                                              FIRST AMENDED COMPLAINT
  15                                                           FOR:
        FENIX INTERNATIONAL LIMITED; FENIX
  16    INTERNET LLC,                                          (1) FALSE ADVERTISING –
                                                               VIOLATION OF THE CALIFORNIA
  17                              Defendants.                  AUTOMATIC RENEWAL LAW [Bus.
                                                               and Prof. Code § 17600 et seq. and §
  18                                                           17535];
  19                                                           (2) VIOLATION OF THE
                                                               CALIFORNIA CONSUMER LEGAL
  20                                                           REMEDIES ACT [Civ. Code § 1750 et
                                                               seq.] and
  21
                                                               (3) UNFAIR COMPETITION [Bus. &
  22                                                           Prof. Code § 17200 et seq.]
  23

  24

  25

  26                                              INTRODUCTION

  27          1.      Pursuant to California Code of Civil Procedure section 472(1), Plaintiff Marcelo

  28   Muto hereby amends the complaint he initially filed in this action on October 10, 2022.

                                                         1
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   1            2.    California’s Automatic Renewal Law (the “ARL”) requires that when a business

   2   enrolls a California consumer in a service that automatically renews at the end of an initial

   3   enrollment period, the business must disclose the terms of that automatic renewal “in a clear and

   4   conspicuous manner” before the initial subscription is consummated, and thereafter send the user

   5   an acknowledgment further describing the auto-renewal terms and providing information as to

   6   how the user can readily cancel before incurring an auto-renewal charge.

   7            3.    Defendants own and operate the popular sexual content platform “OnlyFans,”

   8   through which consumers can “subscribe” to the OnlyFans accounts of one or more among

   9   thousands of different performers, known as “content creators.” Consumer subscriptions are the

  10   cornerstone of Defendants’ revenue model. Yet in violation of California’s ARL, by failing to

  11   clearly and conspicuously advise its customers that their initial subscription to a creator will be

  12   automatically renewed, OnlyFans tricks its customers into making recurring payments, triggering

  13   a charge to the customer’s debit or credit card ranging from $4.99 to $49.99 for the following

  14   month.

  15            4.    Plaintiff Marcelo Muto brings this action to obtain injunctive and monetary relief

  16   for himself and all other similarly situated OnlyFans customers in California, who entered an

  17   automatic renewal plan without receiving the pre- and post-subscription disclosures that are

  18   required by California law.

  19                                                PARTIES

  20            5.    Plaintiff Marcelo Muto is a resident of Riverside County, California.

  21            6.    Defendant Fenix International Limited (“FIL”) is, on information and belief, a

  22   business entity incorporated under the laws of the United Kingdom, with its principal place of

  23   business in London. FIL is the counterparty to the Terms of Service that customers of

  24   OnlyFans.com enter when they become members of the site, and thus does business throughout

  25   the United States, including with hundreds or thousands of residents of Riverside County. On

  26   information and belief, FIL is the business entity that receives some or all of the automatic
  27   renewal fees that are paid by OnlyFans customers and that are the subject of this complaint.

  28            7.    Defendant Fenix Internet LLC is a Delaware limited liability company that is

                                                         2
Case 5:22-cv-02164-SSS-KK Document 1-1 Filed 12/05/22 Page 26 of 40 Page ID #:34



   1   headquartered in Florida. On information and belief, Fenix Internet LLC is a wholly owned

   2   subsidiary of FIL, and is the company through which OnlyFan’s content creators receive

   3   payment. Accordingly, Fenix Internet LLC is, or has been, continuously in possession of money

   4   wrongfully taken from Plaintiff and the class he seeks to represent, and which is to be restored to

   5   those consumers by virtue of this lawsuit.

   6                                                    VENUE

   7           8.         Venue is proper in this jurisdiction because Plaintiff resides in Riverside County

   8   and entered into the transactions at issue in this case in Riverside County.

   9                                             APPLICABLE LAW

  10           9.         In 2009, the California Legislature passed Senate Bill 340, which took effect on

  11   December l, 2010 as Business & Professions Code section 17600 et seq., commonly known as the

  12   Automatic Renewal Law or “ARL.” The ARL was passed because:

  13                      It has become increasingly common for consumers to complain about
                          unwanted charges on their credit cards for products or services that the
  14                      consumer did not explicitly request or know they were agreeing to.
                          Consumers report they believed they were making a one-time purchase of a
  15                      product, only to receive continued shipments of the product and charges on
                          their credit card. These unforeseen charges are often the result of
  16                      agreements enumerated in the “fine print” on an order or advertisement that
                          the consumer responded to.
  17
               10.        The Assembly Committee on the Judiciary provided the following background for
  18
       the legislation:
  19
                          This non-controversial bill, which received a unanimous vote on the Senate
  20                      floor, seeks to protect consumers from unwittingly consenting to “automatic
                          renewals” of subscription orders or other “continuous service” offers.
  21                      According to the author and supporters, consumers are often charged for
                          renewal purchases without their consent or knowledge. For example,
  22                      consumers sometimes find that a magazine subscription renewal appears on
                          a credit card statement even though they never agreed to a renewal.
  23
               11.        The ARL seeks to ensure that, before there can be a legally-binding automatic
  24
       renewal or continuous service arrangement, there must first be clear and conspicuous disclosure
  25
       of certain terms and conditions and affirmative consent by the consumer. To that end, § 17602(a)
  26
       makes it unlawful for any business making an automatic renewal offer or a continuous service
  27
       offer to a consumer in California to do any of the following:
  28

                                                            3
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   1                  a. Fail to present the automatic renewal offer terms in a clear and conspicuous

   2   manner before the subscription or purchasing agreement is fulfilled and in visual proximity to the

   3   request for consent to the offer. For this purpose, “clear and conspicuous” means “in larger type

   4   than the surrounding text, or in contrasting type, font, or color to the surrounding text of the same

   5   size, or set off from the surrounding text of the same size by symbols or other marks, in a manner

   6   that clearly calls attention to the language.” The statute defines “automatic renewal offer terms”

   7   to mean the “clear and conspicuous” disclosure of the following: (1) that the subscription or

   8   purchasing agreement will continue until the consumer cancels; (2) the description of the

   9   cancellation policy that applies to the offer; (3) the recurring charges that will be charged to the

  10   consumer’s credit or debit card as part of the automatic renewal plan or arrangement, (4) the

  11   length of the automatic renewal term or that the service is continuous; and (5) the minimum

  12   purchase obligation, if any.

  13                  b. Charge the consumer’s credit or debit card for an automatic renewal or

  14   continuous service without first obtaining the consumer’s affirmative consent to the agreement

  15   containing the automatic renewal offer terms, including the terms of an automatic renewal offer

  16   or continuous service offer that is made at a promotional or discounted price for a limited period

  17   of time.

  18                  c. Fail to provide an acknowledgment that includes the automatic renewal terms,

  19   cancellation policy, and information regarding how to cancel in a manner that is capable of being

  20   retained by the consumer. Section 17602(b) requires that the acknowledgment specified in

  21   § 17602(a)(3) include a toll-free telephone number, electronic mail address, or another “cost-

  22   effective, timely, and easy-to-use” mechanism for cancellation.

  23          12.     If a business sends any goods, wares, merchandise, or products to a consumer

  24   under a purported automatic renewal or continuous service arrangement without first obtaining

  25   the consumer’s affirmative consent to an agreement containing the “clear and conspicuous”

  26   disclosures as specified in the ARL, the goods, wares, merchandise, and/or products are deemed
  27   to be an unconditional gift to the consumer, who may use or dispose of them without any

  28   obligation whatsoever. While the ARL does not include a private right of action, a violation

                                                         4
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   1   nevertheless gives rise to restitution and injunctive relief under the False Advertising Law and

   2   Unfair Competition Law.

   3                                      FACTUAL ALLEGATIONS

   4          13.     Every subscription to a creator’s content on OnlyFans violates the ARL in

   5   numerous ways, but primarily by:

   6                  (1) failing to “present the automatic renewal offer terms . . . in a clear and

   7                  conspicuous manner” before payment is made, in violation of section 17602(a)(1);

   8                  (2) charging the consumer’s credit or debit card “without first obtaining the

   9                  consumer’s affirmative consent to the agreement containing the automatic renewal

  10                  offer terms” in violation of section 17602(a)(2); and

  11                  (3) failing to “provide an acknowledgment that includes the automatic renewal

  12                  offer terms . . . cancellation policy, and information regarding how to cancel” in

  13                  violation of section 17602(a)(3).

  14          14.     The foregoing violations are all made obvious through an illustration of an

  15   exemplary enrollment to the OnlyFans account of the popular Kardashian-adjacent celebrity and

  16   OnlyFans content creator known as “Blac Chyna,” who is reported to have been the top-earning

  17   creator on OnlyFans for 2021, generating revenue for Defendants of $20 million per month.

  18          15.     A user joins OnlyFans by navigating to OnlyFans.com and clicking a hyperlink

  19   titled “Sign up for OnlyFans.” The user then creates an account by choosing a user name, and

  20   inputting their email address and choosing a password. After receiving an email at that address to

  21   “verify your email address,” the user is taken to a “Home” screen with a menu on the left, a

  22   middle section with a selection of “posts” made by users and creators, a search tool for finding

  23   creators, and a list of “suggestions” on the right, highlighting certain content creators whose

  24   profiles the user can scroll through.

  25          16.     When a user searches and then navigates to the profile page for Blac Chyna, for

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   1   example, they are presented with the following screen:

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              17.    Upon clicking the “SUBSCRIBE” button, the user is advised of certain “benefits”
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       from the subscription and is asked to add a payment card:
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              18.    The user then inputs their credit card information, and receives an on-screen
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   1   confirmation that “You will be charged $19.99,” with no suggestion that the charge will be

   2   recurring:

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  15          19.     After clicking the “PAY” link on that screen the user is returned to the creator’s

  16   profile page, where a box in the middle of the page notes that the user is “SUBSCRIBED” in bold

  17   blue font, and with only a one-word indication (in smaller, lower-case, light gray font) that the

  18   subscription “Renews,” and with the renewal date indicated in similarly small, light-gray font:

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  13          20.     As shown, the creator’s profile page does not include any indication as to how one
  14   can “unsubscribe,” or otherwise cancel future monthly payments.
  15          21.     Upon making payment, the user will sometimes receive a confirmation email at the
  16   address they used in the sign-up process. That bare-bones confirmation email does not provide
  17   any information or reminder that the charge will be recurring or automatically renew, nor does it
  18   provide any information as to how the user can “unsubscribe,” Defendants’ cancellation policy, or
  19   any of the other information required by section 17602(a)(3):
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              22.     In other circumstances, the details of which are unknown to Plaintiff prior to
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       taking discovery in this matter, the user receives no acknowledgement whatsoever after making
  14
       payment, as exemplified by the instance where one pays $6.99 to follow the creator known as
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       @annie_kay.
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              23.     Furthermore, nowhere in the foregoing enrollment process to a particular creator’s
  17
       account do Defendants “first obtain[ ] the consumer’s affirmative consent to the agreement
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       containing the automatic renewal offer terms,” which is in further violation of section
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       17602(a)(2). In particular, on the webpage in the sign-up process where a user selects a username
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       and inputs his or her email address and selects a password, Defendants include (in light grey and
  21
       light blue, extremely small text) a notification that “By signing up you agree to our Terms of
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       Service and Privacy Policy,” with hyperlinks to those documents, as seen in the following
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       screenshot:
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              24.     Clicking on the “Terms of Service” link takes a user to a separate webpage that
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       consists of a 36-page set of “terms.” Nowhere in that document are the terms of Defendants’
  15
       automatic renewal offer set forth clearly and conspicuously either, in further violation of ARL
  16
       section 17602. Rather, the automatic renewal explanation is buried in section 8.h of that
  17
       document, on its fifteenth page, where it is presented in a way that is indistinguishable from any
  18
       other term in the agreement.
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              25.     All of these violations of the ARL occur systematically, in that each user who
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       subscribes to each content creator’s account receives the exact same legally inadequate
  21
       disclosures on the front end of the transaction, and the exact same inadequate
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       “acknowledgement” (or lack of any acknowledgement whatsoever) on the back end of the
  23
       transaction.
  24
              26.     Plaintiff Marcelo Muto was subject to this same pattern of violation of the ARL
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       when he subscribed to follow the account of an OnlyFans creator called “@taste.of.heaven” in
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       February 2021. Mr. Muto paid the initial subscription fee to that account, and in doing so failed
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       to receive an adequate set of disclosures at the time of that transaction to clearly and
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   1   conspicuously advise him that his card would be automatically billed upon expiration of his initial

   2   enrollment period. Similarly, upon information and belief Mr. Muto did not receive any post-

   3   transaction acknowledgement advising him of the matters set forth in section 17602(a)(3), but if

   4   he did, that acknowledgement would have consisted of nothing beyond the Blac Chyna

   5   confirmation email excerpted above.

   6          27.     Mr. Muto was thereafter charged a $29.99 automatic renewal fee on or about

   7   March 14, 2021. Only when Mr. Muto thereupon contacted Defendants to complain about the

   8   charge—advising that “I was charged 30 dollars unintentionally”—did Defendants respond

   9   through a customer service representative called “Evans” with the explanation:

  10                  Hi there,
  11                  Thanks for reaching out.
  12                  The auto-renewal for the subscription to @taste.of.heaven was not disabled
                      before the next billing date. The auto-renew feature was enabled from the
  13                  start, I am sorry you did not notice this at first.
  14                  You may cancel your subscription at any time, which will allow you to
                      access the user’s profile until the end of the existing billing period, where
  15                  you will lose access to the content and will not be re-billed. Navigate to this
                      page and make sure that Auto-Renew for your subscription is disabled:
  16                  https://onlyfans.com/my/subscriptions/
  17                  If you see a Subscribed button and the renewal date for the corresponding
                      subscription - it is set for Auto-Renew. And if you see the Renew button
  18                  and the expiration date - it means that Auto-Renew is already disabled.
  19                  Users can unsubscribe anytime, but there are no refunds as all subscriptions
                      are final and non-refundable. Please see more details at this page:
  20                  https://onlyfans.com/terms
  21                  Feel free to let us know if we can help you with anything else in the future.
  22                  Evans
  23          28.     In other words, Defendants fully acknowledged the likelihood that Mr. Muto “did

  24   not notice this at first,” (i.e., that “[t]he auto-renew feature was enabled”), but nevertheless

  25   advised that “there are no refunds as all subscriptions are final.” Had Mr. Muto received the clear

  26   and conspicuous disclosures required by the ARL at the time he initially subscribed to
  27   @taste.of.heaven, and the post-subscription acknowledgment required by section 17602(a)(3)

  28   with details on the auto-renewal offer and a readily accessible means of canceling, he would have

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   1   canceled his subscription prior to the renewal date, and would not have lost $29.99 to Defendants.

   2                                        CLASS ALLEGATIONS

   3          29.     Mr. Muto’s experience with Defendants’ deceptive automatic renewal scheme is

   4   far from unique. Indeed, every California consumer who subscribed to every creator account

   5   within the relevant statute of limitations period failed to receive the disclosures that California

   6   law requires in exactly the same way that Mr. Muto failed to receive them. Because all of those

   7   automatic renewal fees assessed against California consumers were “unlawful,” B&P Code

   8   § 17602(a), Mr. Muto and all members of the class he seeks to represent are entitled to restitution

   9   of the fees they paid, in every successive month for which they were assessed.

  10          30.     Mr. Muto brings this lawsuit as a class action under Code of Civil Procedure § 382

  11   on behalf of the following Class:

  12                  All individuals in California who subscribed to the accounts of one or more
                      OnlyFans creators in the four years preceding the filing of this complaint,
  13                  and who were subsequently assessed an automatic renewal fee associated
                      with those account(s), where the charge for that fee was not charged back
  14                  to Defendants. Excluded from the Class are all employees of Defendants,
                      and the judicial officers to whom this case is assigned.
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       Plaintiff reserves the right to amend this class definition as necessary and appropriate prior to
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       moving for class certification.
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              31.     The proposed class is so numerous that joinder of all class members would be
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       impracticable. Upon information and belief, Mr. Muto alleges that the class includes at least
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       10,000 members. The class members are all ascertainable from records in possession of
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       Defendants, specifically Defendants’ customer and billing records. Furthermore, Defendants’
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       actions against class members are generally applicable to every member of the proposed class,
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       thereby making appropriate restitution and further injunctive relief appropriate as to the entire
  23
       proposed class.
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              32.     The questions of law and fact that are determinative of Mr. Muto’s allegations are
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       shared by all members of the class, and greatly predominate over any individual issues. Common
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       questions include, without limitation: (1) whether Defendants present all statutorily-mandated
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       automatic renewal offer terms in a manner that is clear and conspicuous within the meaning of
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   1   California law and in visual proximity to a request for consent to the offer; (2) whether

   2   Defendants provide the post-transaction acknowledgement disclosures required by section

   3   17602(a)(3) of the ARL; (3) Defendants’ policies, practices and procedures for obtaining

   4   affirmative consent from their California customers before charging their credit or debit card; and

   5   (4) the appropriate remedies for Defendants’ conduct.

   6           33.     Mr. Muto’s claims are typical of the claims of the class members in that he

   7   received the exact same inadequate pre-transaction disclosures as received by all members of the

   8   class, and similarly received an inadequate post-transaction “acknowledgement” that included the

   9   contents required by section 17602(a)(3). Mr. Muto’s claims are further typical in that his card

  10   was charged for an automatic renewal fee without Defendants having first obtained his

  11   affirmative consent to an agreement containing clear and conspicuous disclosure of all automatic

  12   renewal offer terms. Mr. Muto furthermore has no interests that are adverse to those of the absent

  13   class members, and he has committed to fairly and adequately protect the interests of those class

  14   members.

  15           34.     A class action is superior to other methods for resolving this controversy. Because

  16   the amount of restitution to which each Class member may be entitled is low in comparison to the

  17   expense and burden of individual litigation, it would be impracticable for Class members to

  18   redress the wrongs done to them without a class action forum. Furthermore, on information and

  19   belief, Class members do not know that their statutory rights have been violated, so they would be

  20   unlikely to pursue single-party remedies on their own behalf absent a class action. Class

  21   certification would also conserve judicial resources and avoid the possibility of inconsistent

  22   judgments.

  23                                      FIRST CAUSE OF ACTION

  24     (False Advertising in Violation of the California Automatic Renewal Law, B&P Code §§

  25                                          17535; 17600 et seq.)

  26           35.      Plaintiff hereby incorporates the allegations of all preceding paragraphs as though
  27   fully set forth herein.

  28           36.     Defendants enrolled Plaintiff and an untold number of California consumers who

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   1   comprise the class alleged herein, into an automatic renewal program that violates the ARL by,

   2   among other things, (a) failing to present automatic renewal offer terms in a clear and

   3   conspicuous manner before a subscription or purchasing agreement is fulfilled and in visual

   4   proximity to the offer; (b) charging the consumer’s credit card or debit card for an automatic

   5   renewal fee without first obtaining the consumer’s affirmative consent to an agreement containing

   6   clear and conspicuous disclosure of all automatic renewal offer terms; and (c) failing to provide

   7   an acknowledgment that includes clear and conspicuous disclosure of all automatic renewal offer

   8   terms, the cancellation policy, and information regarding how to cancel in a manner that is

   9   capable of being retained by the consumer and that provides a mechanism for cancellation that is

  10   cost-effective, timely, and easy to use, all in violation of § 17602(a) and (b).

  11           37.     Defendants’ violations of the ARL are in turn a violation of California’s False

  12   Advertising Law, Business & Professions Code section 17500 et seq. Under section 17535 of the

  13   False Advertising Law, Plaintiff and members of the class are entitled to an injunction prohibiting

  14   further violations of the ARL, and restoring to Plaintiff and members of the class the money that

  15   Defendants acquired from them by means of the ARL violations described herein.

  16                                    SECOND CAUSE OF ACTION

  17       (Violation of the California Consumer Legal Remedies Act, Civ. Code § 1750 et seq.)

  18           38.     Plaintiff hereby incorporates the allegations of all preceding paragraphs as though

  19   fully set forth herein.

  20           39.     Plaintiff and all members of the class are “consumers” within the meaning of Civil

  21   Code § 1761(d) in that Plaintiffs sought or acquired Defendants’ goods and/or services for

  22   personal purposes.

  23           40.     Defendants’ membership program pertains to “services” within the meaning of

  24   Civil Code § 1761(a) and (b).

  25           41.     The payments that Plaintiff and members of the class made to Defendants are

  26   “transactions” within the meaning of Civil Code section 1761(e).
  27           42.     Defendants have violated Civil Code § 1770, subdivisions (a)(5), (9), and (14), by

  28   representing that Defendants’ goods or services have characteristics that they do not have;

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   1   advertising goods and services with the intent not to sell them as advertised; and representing that

   2   a transaction confers or involves rights, remedies, or obligations that it does not have or involve,

   3   or that are prohibited by law.

   4           43.     Unless enjoined and restrained by this Court, Defendants will continue to commit

   5   the violations alleged herein. Pursuant to Civil Code § 1780(a)(2), on behalf of the Class and also

   6   for the benefit of the general public of the State of California, Plaintiff seeks an injunction

   7   prohibiting Defendants from continuing their unlawful practices as alleged herein.

   8                                      THIRD CAUSE OF ACTION

   9          (Violation of the California Unfair Competition Law, B&P Code § 17200 et seq.)

  10           44.     Plaintiff hereby incorporates the allegations of all preceding paragraphs as though

  11   fully set forth herein.

  12           45.     The Unfair Competition Law defines unfair competition as including any

  13   unlawful, unfair, or fraudulent business act or practice; any unfair, deceptive, untrue, or

  14   misleading advertising; and any act of false advertising under § 17500.

  15           46.     In the course of conducting business in California within the applicable limitations

  16   period, Defendants committed unlawful, unfair, and/or fraudulent business practices, and engaged

  17   in unfair, deceptive, untrue, or misleading advertising, by, inter alia and without limitation: (a)

  18   failing to present automatic renewal offer terms in a clear and conspicuous manner before a

  19   subscription or purchasing agreement is fulfilled and in visual proximity to the offer; (b) charging

  20   the consumer’s credit card or debit card for an automatic renewal fee without first obtaining the

  21   consumer’s affirmative consent to an agreement containing clear and conspicuous disclosure of

  22   the automatic renewal offer terms; and (c) failing to provide an acknowledgment that includes

  23   clear and conspicuous disclosure of all automatic renewal offer terms, the cancellation policy, and

  24   information regarding how to cancel in a manner that is capable of being retained by the

  25   consumer and that provides a mechanism for cancellation that is cost-effective, timely, and easy

  26   to use, all in violation of § 17602(a) and (b).
  27           47.     Defendants’ acts, omissions, nondisclosures, and statements as alleged herein were

  28   and are false, misleading, and/or likely to deceive the consuming public.

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   1          48.     Plaintiff and all members of the class have lost money as a result of Defendants’

   2   unlawful acts of unfair competition, in that Plaintiff would not have incurred the automatic

   3   renewal fee associated with the account of the creator known as @taste.of.heaven had Defendants

   4   fully, clearly, and conspicuously apprised him of the terms of the automatic renewal offer

   5   described herein.

   6          49.     Pursuant to § 17203, Plaintiff and the members of the class are entitled to

   7   restitution of all amounts paid to Defendants in connection with an automatic renewal

   8   membership program in the four years preceding the filing of this Complaint and continuing until

   9   Defendants’ acts of unfair competition cease.

  10          50.     Unless enjoined and restrained by this Court, Defendants will continue to commit

  11   the violations alleged herein. Pursuant to § 17203, on behalf of the class, and for the benefit of

  12   the general public of the State of California, Plaintiff seeks an injunction prohibiting Defendants

  13   from continuing their unlawful practices as alleged herein.

  14                                                PRAYER

  15          Plaintiff prays for judgment on behalf of himself and all members of the class alleged

  16   herein, against Defendants, as follows:

  17          1.      For restitution of the amounts unlawfully charged to the credit and debit cards of

  18   Plaintiffs and members of the class in violation of the ARL;

  19          2.      For injunctive relief against further violations of the ARL by Defendants;

  20          3.      For reasonable attorneys’ fees pursuant to Code of Civil Procedure § 1021.5;

  21          4.      For costs of suit;

  22          5.      For prejudgment interest; and

  23          6.      For such other relief as the Court deems just and proper.

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   1    Dated: October 24, 2022            GAW | POE LLP

   2

   3                                       By:
                                                 MARK POE
   4
                                                 Attorneys for Plaintiff
   5                                             Marcelo Muto

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